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                    UNITED STATES COURT OF APPEALS                   FILED
                             FOR THE NINTH CIRCUIT                    DEC 9 2022
                                                                 MOLLY C. DWYER, CLERK
                                                                   U.S. COURT OF APPEALS
  AL OTRO LADO, a California corporation;   No.   22-55988
  et al.,
                                            D.C. No.
                Plaintiffs-Appellees,       3:17-cv-02366-BAS-KSC
   v.                                       Southern District of California,
                                            San Diego
  EXECUTIVE OFFICE FOR
  IMMIGRATION REVIEW,                       ORDER

                Appellant,
  and

  ALEJANDRO N. MAYORKAS, Secretary
  of Homeland Security; et al.,

                Defendants-Appellants.

  AL OTRO LADO, a California corporation;   No.   22-56036
  et al.,
                                            D.C. No.
                Plaintiffs-Appellants,
                                            3:17-cv-02366-BAS-KSC
   v.

  EXECUTIVE OFFICE FOR
  IMMIGRATION REVIEW,

                Appellee,
  and

  ALEJANDRO N. MAYORKAS, Secretary
  of Homeland Security; et al.,

                Defendants-Appellees.




  AC/MOATT
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  Before: OWENS, FRIEDLAND, and R. NELSON, Circuit Judges.

        The motion (Docket Entry No. 8) to have these cross-appeals assigned to

  this panel, as the panel previously assigned appeal Nos. 19-56417 and 20-56287, is

  granted.

        The existing briefing schedule remains in effect.




  AC/MOATT                                 2
